                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       CR-05-27-B-W
                                            )
ARTHUR MICHAEL KINSELLA,                    )
                                            )
       Defendant.                           )

                             ORDER ON DEFENDANT’S
                        MOTION FOR SEVERANCE OF COUNTS

       Arthur Michael Kinsella faces a three-count indictment for drug offenses and failure to

appear. On November 13, 2007, he moved to sever the counts. Def.’s Severance of Counts

(Docket # 84). Although joinder of the counts is proper under Federal Rule of Civil Procedure

8(a), Mr. Kinsella is entitled to a severance of Counts One and Two from Count Three, because

he may wish to testify in defense of Counts One and Two and remain silent as to Count Three.

I.     STATEMENT OF FACTS

       On March 19, 2005, Arthur Michael Kinsella, a Canadian citizen, was arrested in the

United States on drug trafficking charges, and on April 12, 2005, a federal grand jury returned a

two-count indictment against him: Count One alleged a violation of 21 U.S.C. §§ 846 and

841(a)(1), conspiracy to distribute controlled substances, and Count Two alleged a violation of

21 U.S.C. § 841(a)(1), possession with intent to distribute controlled substances. Indictment

(Docket # 16). On April 19, 2005, Mr. Kinsella pleaded not guilty. Minute Entry (Docket # 19).

On May 10, 2005, Mr. Kinsella requested that he be permitted to live in Canada pending trial,

Def.’s Mot. to Modify Conditions of Release (Docket # 32), and on the same day, the Court

granted the motion, issuing an Amended Order Setting Conditions of Release, mandating that
Mr. Kinsella appear, as required, at the United States District Court in Bangor. Am. Order

Setting Conditions of Release (Docket # 33).

       On July 12, 2005, a federal grand jury returned a two-count superseding indictment,

charging Mr. Kinsella with the same counts as in the original indictment, but changing the

duration of the alleged conspiracy. Superseding Indictment (Docket # 51). After an extension of

time due to Mr. Kinsella’s inability to pay to travel from Canada to Bangor, the Court scheduled

Mr. Kinsella’s arraignment on the superseding indictment for August 2, 2005.

       Mr. Kinsella did not appear for his arraignment and the Court issued a bench warrant for

his arrest. Order (Docket # 62). Mr. Kinsella was arrested in Canada and subsequently was

extradited to the United States. On November 9, 2005, the grand jury returned a three-count

second superseding indictment, charging Mr. Kinsella with the same two counts of the first

superseding indictment and adding a third count alleging that Mr. Kinsella violated 18 U.S.C. §

3146(a)(1), failure to appear. Second Superseding Indictment (Docket # 66).

       Mr. Kinsella moved for severance on November 13, 2007. Def.’s Mot. for Severance of

Counts with Mem. (Docket # 84) (Def.’s Mot.). The Government responded on December 4,

2007. Government’s Opp’n to Def.’s Mot. to Sever (Docket # 90) (Government’s Opp’n). On

December 14, 2007, Mr. Kinsella replied, with affidavits from David Kelly, a solicitor in New

Brunswick, Canada, and Matthew Erickson, an attorney in Maine. Def.’s Reply to Government’s

Opp’n to Mot. for Severance (Docket # 92) (Def.’s Reply); Def.’s Reply Attach. 1; Def.’s Reply

Attach. 2.

II.    DISCUSSION

       A.     Joinder of Counts under Federal Rule of Criminal Procedure 8(a)




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       A defendant may be charged on an indictment or information with multiple counts if they

“are of the same or similar character, or are based on the same act or transaction, or are

connected with or constitute parts of a common scheme or plan.” Fed. R. Crim. P. 8(a). Thus,

separate offenses may be charged together if there is “‘substantial identity of facts or

participants’ underlying the charged offenses.” United States v. Yefksy, 994 F.2d 885, 895 (1st

Cir. 1993). Under First Circuit law, “‘[s]imilar’ does not mean ‘identical.’” United States v.

Meléndez, 301 F.3d 27, 35 (1st Cir. 2002) (citing United States v. Edgar, 82 F.3d 499, 503 (1st

Cir.1996)). To determine whether counts are properly joined, the Court will consider “whether

the charges are laid under the same statute, whether they involve similar victims, locations, or

modes of operation, and the time frame in which the charged conduct occurred.” United States v.

Taylor, 54 F.3d 967, 973 (1st Cir. 1995) (citations omitted). “A plausible basis for the joinder of

multiple counts ordinarily should be discernible from the face of the indictment.” United States

v. Fenton, 367 F.3d 14, 21 (1st Cir. 2004).

               1.     Counts One and Two

       Mr. Kinsella argues that the two oxycodone counts are not properly joined “[b]ecause the

time period alleged in Count 1 does not cover the time period alleged in Count 2, Count 2

presumably is not part of any ‘common scheme or plan’ to distribute or possess with intent to

distribute Oycodone.” Def.’s Mot. at 2. He further argues that they cannot “practically be part of

the ‘same act or transaction,’” and that “they are not ‘of the same character’ because Count 1 is

an inchoate crime, punishing an illegal agreement to distribute and to posses with intent to

distribute Oxycodone, whereas Count 2 is a substantive crime.” Id. at 3. The Government did

not respond to Mr. Kinsella’s arguments.




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       The First Circuit “has repeatedly held that a conspiracy count can be a

sufficient connecting link between . . . multiple offenses that tips the balance in favor of

joinder.” United States v. Rehal, 940 F.2d 1, 3 (1st Cir. 1991). “For such a joinder to be proper,

however, two requirements must be met: 1) the charges must have been joined in good faith and,

2) the joinder must have a firm basis in fact, considering the face of the indictment and the

evidence adduced at trial.” Id.; United States v. Plumadore, 221 F. Supp. 2d 12, 14 (D. Me.

2002). Mr. Kinsella does not claim that Counts One and Two were not joined in good faith.

       Concerning the second requirement, considering the face of the indictment, joinder of

Counts One and Two does have a firm basis in fact – the Counts are of the same or similar

character. One Count charges that Mr. Kinsella conspired to violate § 841(a)(1) by possessing

Oxycodone within the state of Maine with the intent to distribute it; the other charges that he

violated § 841(a)(1) by intentionally and knowingly possessing Oxycodone within the state of

Maine with the intent to distribute it. See Meléndez, 301 F.3d at 35-36 (finding that joinder was

proper where the charges were aiding and abetting distribution of cocaine base and possession of

cocaine base with intent to distribute); United States v. Deluca, 137 F.3d 24, 36 (1st Cir. 1998)

(concluding that the Government can join multiple defendants in a single indictment provided

that at least one count alleges a conspiracy and the indictment separately alleges that the

defendants committed a substantive offense “during the course and in furtherance of the

umbrella conspiracy or [continuing criminal enterprise]”). The differences between conspiracy

to possess and actual possession are insufficient to deny joinder.

       That several months separate the activity alleged in Counts One and Two does not change

this determination. See, e.g., United States v. Turner, 93 F.3d 276, 283-84 (7th Cir. 1996)

(finding that even though separate charges of conspiracy to possess methamphetamine and




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possessing methamphetamine with intent to distribute allegedly occurred during different time

periods, “the indictment alleges the violation of two closely-related statutory prohibitions, and

each count involves the same controlled substance”); United States v. Shue, 766 F.2d 1122, 1134

(7th Cir. 1985) (allowing joinder of several bank robberies occurring fifteen months apart from

each other and emphasizing that evidence of the various robberies would overlap). Here, the

allegations involve the same statute and similar modes of operation. Edgar, 82 F.3d at 503.

While the alleged drug activity did not occur at exactly the same date, the “same or similar

character” of the offenses permits joinder under Rule 8(a).

               2.     Count Three

       Mr. Kinsella argues that “Count 3 charges a different type of crime than do Counts 1 and

2. Mr. Kinsella’s actual guilt as to Counts 1 and 2 largely is irrelevant as to Count 3, because he

may be found guilty of that count even if he is found to be not guilty of Counts 1 and 2.” Def.’s

Mot. at 3. The Government responds that a bail jumping charge may be joined with the

underlying offense under Rule 8(a) and that “[i]t is well established that a charge of bail jumping

or escape may be deemed sufficiently ‘connected’ with a substantive offense to permit a single

trial, or at least where the charges are related in time, the motive for flight was avoidance of

prosecution, and appellant’s custody stemmed directly from the substantive changes.”

Government’s Opp’n at 5 (quoting United States v. Ritch, 583 F.2d 1179, 1181 (1st Cir. 1978));

see also United States v. Gabay, 923 F.2d 1536, 1539-40 (11th Cir. 1991).

       In Ritch, the Court affirmed the joinder of possession and importation of cocaine under

21 U.S.C. § 841(a) and failure to appear under 18 U.S.C. § 3150. Ritch, 583 F.2d at 1181. Here,

as in Ritch, the charges are related in time, and the custody stemmed directly from the

substantive charge. Finally, Mr. Kinsella asserts that his failure to appear was “due to fear of




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overreaching from the prosecutor,” Def.’s Reply at 1; thus, he concedes that his motive was, at

least in part, to avoid prosecution on Counts One and Two. Counts One, Two, and Three are

properly joined.

        B.      Severance of Count Three from Counts One and Two under Rule 14(a)

        If proper joinder “appears to prejudice a defendant or the government, the court may

order separate trials of counts . . . or provide any other relief that justice requires.”1 Fed. R.

Crim. P. 14. According to the First Circuit:

                Generally, there are three types of prejudice that may result from
                trying a defendant for several different offenses at one trial: (1) the
                defendant may become embarrassed or confounded in presenting
                separate defenses; (2) proof that defendant is guilty of one offense
                may be used to convict him of a second offense, even though such
                proof would be inadmissible in a separate trial for the second
                offense; and (3) a defendant may wish to testify in his own behalf
                on one of the offenses but not another, forcing him to choose the
                unwanted alternative of testifying as to both or testifying as to
                neither.

United States v. Scivola, 766 F.2d 37, 41-42 (1st Cir. 1985) (citations omitted). Mr. Kinsella

argues that all three Scivola types of prejudice are present.

                1.      Mr. Kinsella’s Potential Testimony

        Mr. Kinsella explains that the reason he did not return to face the pending drug charges

was that he had been subjected to an overly zealous and aggressive prosecution. He claims that

an Assistant United States Attorney called him a “criminal” in court and falsely accused him of

smuggling cocaine into the United States and attempting to smuggle drugs into the Penobscot

County Jail. Def.’s Reply Attach. 1 at 1. He also claims that one of the Drug Enforcement

Agency agents told him that if he did not admit to dealing drugs, they would arrest his mother,

and repeatedly referred to him as a “dumb Canuck.” Def.’s Reply Attach. 2 at 2. He further

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  Mr. Kinsella argues that Counts One and Two are improperly joined, but does not make a Rule 14 severance
argument with regard to these counts. His severance argument is limited to Count Three.


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alleges that as he was ushered to his cell block in the Penobscot County Jail, a guard hollered

out, “fresh meat,” and that while en route to Canada, following his release on bail conditions, his

vehicle was repeatedly stopped by Maine State Troopers. Id. at 2-4. He also asserts that he was

subjected to repeated harassment at United States Customs whenever he attempted to cross the

border. Id. at 3. He has presented the affidavit of his Canadian solicitor, who advised him not to

return to the United States for trial, because “these matters would likely be unfair.” Def.’s Reply

Attach. 1 at 1-2.

                 2.       The First and Second Types of Prejudice under Scivola: Admissibility
                          and Presentation of Evidence

        Mr. Kinsella’s argument arises from the different way the rules of evidence apply to the

same evidence with regard to the drug counts and the failure to appear count.2 On the drug

charges, Mr. Kinsella’s reason for his failure to appear – that he was worried about prosecutorial

overreaching – could be admissible to rebut an inference of “consciousness of guilt.”                      On the

failure to appear charge, however, Mr. Kinsella’s reason for his non-appearance would not be

admissible, since it does not meet the legal standard for an affirmative defense. The differing

ways the same evidence would play out in separate and joined trials forms the basis for his

request for severance. The Court considers these issues in the following order: first, as to the

failure to appear count alone; second, as to the drug counts alone; and then third, as to all three

counts if tried together.

                          a.       Admissibility of the Defendant’s Evidence as to Count Three

        Mr. Kinsella has been charged with a failure to appear before a court as required by the

conditions of release, a violation of 18 U.S.C. § 3146(a)(1). Mr. Kinsella himself acknowledges

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  While Scivola provides separate tests for when a Defendant is “confounded” in presenting defenses and when
evidence is inadmissible for some counts but not others, Mr. Kinsella conflates these issues, arguing that admission
of evidence regarding Count One will result in a “mini-trial” when he explains his non-appearance as to Counts Two
and Three. Thus, the Court considers these issues together.


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that if Count Three were tried separately, he would not be able to take the stand and defend

himself by explaining the reasons he did not appear. Def.’s Mot. at 3 (“Normally, the reasons

why a defendant may not have appeared, if such non-appearance is otherwise voluntary, is

irrelevant and inadmissible at trial.”).

        He is correct. The law allows an affirmative defense for failure to appear if the defendant

can demonstrate that “‘uncontrollable circumstances’ prevented the person from appearing or

surrendering, that the person did not contribute to the creation of such circumstances in reckless

disregard of the requirement to appear or surrender, and that the person appeared as soon as such

circumstances ceased to exist.”        18 U.S.C. § 3146(c).        The First Circuit has narrowly

circumscribed the situations in which this defense may be properly asserted.                    These

“circumstances” fall “into two categories, physical and mental.” United States v. Veilleux, 40

F.3d 9, 10 (1st Cir. 1994); see United States v. Odufowora, 814 F.2d 73, 74 (1st Cir. 1987). As

in Veilleux, Mr. Kinsella has made no claim of physical prevention. Veilleux, 40 F.3d at 10.

This leaves uncontrollable duress, which the First Circuit has interpreted to “be sufficient to

produce an unavoidable fear of serious bodily injury or death.” Id. (quotation marks omitted).

There is no proffer of evidence of uncontrollable duress within this definition.

        Instead, Mr. Kinsella’s excuse is similar to the excuse the First Circuit rejected in

Veilleux: a loss of faith in the judicial system. Id. As the First Circuit wrote in Veilleux, if a loss

of faith in the system or a fear of an improper sentence could justify a failure to appear, “[t]his

would practically put appearance . . . on a voluntary basis.” Id. In fact, in his memorandum, Mr.

Kinsella admits as much. Def.’s Mot. at 3. Thus, if Count Three were tried separately, Mr.

Kinsella’s reasons for not appearing are likely inadmissible.




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                           b.       Admissibility of Evidence Explaining The Failure to Appear as
                                    to Counts One and Two

         Mr. Kinsella first argues that evidence of his non-appearance should be inadmissible as to

Counts One and Two. He explains that if the Government were allowed to present evidence of

his non-appearance, he would seek to provide an alternative explanation for his non-appearance

to rebut the inference of consciousness of guilt – that he failed to appear due to numerous

instances of prosecutorial and law enforcement overreaching. Mr. Kinsella raises the specter that

his alternative explanation would “create a mini-trial on peripheral issues, leading to confusion

of the issues to be resolved by the jury, such evidence would not be admissible as the evidence of

flight would be more prejudicial than probative.” Def.’s Reply at 4.

         Contrary to Mr. Kinsella’s position, however, the Court concludes that if the drug charges

were tried separately, Mr. Kinsella’s failure to appear would probably be admissible. The

Government notes that First Circuit law allows the Court to admit proof of flight: “Evidence of a

defendant's flight . . . may be presented at trial as probative of a guilty mind if there is an

adequate factual predicate creating an inference of guilt of the crime charged.” United States v.

Otero-Mendez, 273 F.3d 46, 53 (1st Cir. 2001) (quoting United States v. Candelaria-Silva, 162

F.3d 698, 705 (1st Cir.1998)).            Here, the factual predicate is present.3             A defendant will

sometimes argue that his flight or absence is insufficiently related to the charge to be admissible.

See Candelaria-Silva, 162 F.3d at 705; United States v. Hernandez, 995 F.2d 307, 314-15 (1st

Cir. 1993). But, here, there is no dispute that Mr. Kinsella’s absence was directly related to the

pending drug charges, since he was on bail for those charges. See United States v. Camilo

Montoya, 917 F.2d 680, 681-83 (1st Cir. 1990) (discussing evidence that the defendant knew that


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  This Order assumes that at trial the Government will not rely solely upon Mr. Kinsella’s failure to appear to prove
its case and will present “[o]ther independent evidence establishing his drug dealings.” United States v. Tracy, 989
F.2d 1279, 1285 (1st Cir. 1993).


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he was required to be present for trial and that he did not appear at trial on the same charges for

which he was released on bail); Tracy, 989 F.2d at 1285 (“[T]he government established that

Tracy had been scheduled for trial in August 1991 and had failed to appear”; his non-appearance

was admissible at trial on the same charges). It is likely, therefore, that evidence of Mr.

Kinsella’s failure to appear would be admissible at the trial of the drug counts.

        If evidence of his non-appearance were admitted, Mr. Kinsella could decide not to take

the stand and to simply rely on the standard jury instruction, which reminds the jury that

intentional flight alone is not sufficient to conclude that the defendant is guilty and that the jury

should consider that there may be reasons for his actions that are fully consistent with innocence.

Camilo Montoya, 917 F.2d at 683; United States v. Hyson, 721 F.2d 856, 864 (1st Cir. 1983);

Judge Hornby's 2007 Revisions to the Pattern Criminal Jury Instructions for the District Courts

of the First Circuit § 2.10.

        Alternatively, he could elect to present evidence to rebut the inference of consciousness

of guilt. Mr. Kinsella questions whether a jury would be unduly prejudiced under Rule 403 by

this evidence, since his explanation involves accusations of other drug dealing and he fears this

would sidetrack and prejudice the jury. This is an odd argument. Mr. Kinsella is not required to

present rebuttal evidence. He may logically conclude that the rebuttal evidence is more harmful

than helpful to his case, but the Court cannot protect him from the consequences of his own trial

strategy. To argue that the Government’s evidence is inadmissible because the Defendant’s

rebuttal contains evidence harmful to the Defendant is to argue a non-sequitur.4


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  Mr. Kinsella’s argument is premised on the questionable theory that evidence of government harassment would be
unequivocally prejudicial to his defense of the drug charges. The evidence could be prejudicial to Mr. Kinsella;
however, it is equally true that if a jury concluded that the Government had been harassing him, had threatened to
bring unwarranted criminal charges against innocent persons, including his mother, had made unwarranted police
stops of his vehicle, and had levied false accusations of criminal activity against him, it could conclude that this
evidence is wholly consistent with his claim of overall innocence. Whether the explanation is more helpful than
hurtful is a matter of trial strategy, not a ground for inadmissibility.


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       As to Mr. Kinsella’s fear that such evidence could “create a mini-trial on peripheral

issues, leading to confusion of the issues to be resolved by the jury,” Def.’s Mot. at 4, if he

decides to seek the admission of the rebuttal evidence, the Court will remain vigilant in enforcing

Rule 403 by excluding evidence that confuses the issues, misleads the jury, creates undue delay,

wastes time, or needlessly presents cumulative evidence. Fed. R. Evid. 403. Further, a motion

to sever is not a motion in limine and the Court has not been asked to rule on the admissibility of

any particular evidence.

       The Court concludes that if the drug counts were tried separately, evidence of his non-

appearance would likely be admissible.

                       c.      Admissibility of Evidence Explaining Mr. Kinsella’s Failure to
                               Appear if Counts One, Two, and Three Are Tried Jointly

       Mr. Kinsella raises a number of potential issues if all three counts are tried together.

First, he claims that evidence of his non-appearance would be inadmissible in a trial on the drug

charges, but admissible in a trial on the failure to appear charge. Def.’s Mot. at 3. For the

reasons just described, however, the Court disagrees. Evidence of his non-appearance would be

admissible on all counts, regardless whether tried separately or together, and this does not

present a reason for severing the trials.

       Alternatively, Mr. Kinsella argues the second type of Scivola prejudice: If he takes the

stand and explains his non-appearance to rebut the “consciousness of guilt” inference on the drug

charges, his explanation would be inadequate as a defense and inadmissible on the failure to

appear charge alone. The Court is not convinced that this presents an insurmountable problem.

       The second type of prejudice under Scivola is “proof that defendant is guilty of one

offense may be used to convict him of a second offense, even though such proof would be

inadmissible in a separate trial for the second offense.” Scivola, 766 F.2d at 41-42. The issues



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raised by Mr. Kinsella do not implicate this second type of prejudice. If evidence of guilt would

be inadmissible on one of the charges, Scivola strikes the balance in favor of separate trials. But,

here, evidence of Mr. Kinsella’s guilt – namely that he failed to appear – would be admissible in

both trials, so Scivola does not apply.

       Evidence of Mr. Kinsella’s defense – namely that he had good reason not to appear –

would be admissible regarding the drug counts only. But, Mr. Kinsella has not demonstrated

why this evidence, if admitted in the trial on Count Three, would be prejudicial to the trial of

Count Three. The jury would hear – and be instructed to disregard as to Count Three – that he

had what, in his mind, was a good reason to remain in Canada. Thus, while Mr. Kinsella’s

explanation may not be admissible as a defense to Count Three, this inadmissibility does not

implicate Scivola’s second type of prejudice. An alternative would be for Mr. Kinsella not to

present evidence of his reason for failing to appear. As to the drug counts, the jury could, but

would not be required to, draw an inference of consciousness of guilt; as to the failure to appear

count, the jury would not hear evidence that, if admitted, it would be instructed to disregard.

       None of the other potential problems prevents a joint trial on the drug and failure to

appear counts. Regarding the admissibility of evidence which may be applied to two of the three

counts, it is not uncommon for the evidence to be admitted for some purposes and not for others

and for some charges and not for others, nor is it uncommon for evidence to be treated

differently among different charges depending on the charge.

       It is true that if the drug and failure to appear counts were tried separately, Mr. Kinsella

could present evidence to attempt to rebut the consciousness of guilt inference on the drug

charges and not present the same evidence on the failure to appear count. However, to the extent

that Mr. Kinsella’s rebuttal on the drug counts could influence the jury in its deliberations on the




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failure to appear count, the Court could address this possibility with cautionary and limiting

instructions. The Court can give the standard jury instruction on the drug counts, instructing

about the inference of consciousness of guilt and its substantial limitations. Regarding his

explanation, if he offers one, the Court can instruct the jury that it may consider such evidence

only on the drug counts to rebut the inference of consciousness of guilt, but may not consider

such evidence on the failure to appear count. This does not present a reason for severing trials

on the drug and failure to appear counts.

               3.     The Third Type of Prejudice Under Scivola: The Fifth Amendment

       Mr. Kinsella cites the third type of prejudice described in Scivola – a desire to testify as

to one offense, but not to others. He asserts that if the evidence regarding his non-appearance

were admitted in the same trial as Counts One and Two, “his right not to incriminate himself will

be jeopardized by the joinder of the Counts as [he] may wish to testify as to some of those

counts, but not to others.” Def.’s Mot. at 1. This he paints as a Fifth Amendment right not to

incriminate himself. Id.

       The third type of Scivola prejudice takes place when a defendant wishes to testify “on

one of the offenses but not another, forcing him to choose the unwanted alternative of testifying

as to both or testifying as to neither.” Scivola, 766 F.2d at 42. A court may sever properly

joined counts when the defendant “makes a convincing showing that he has both important

testimony to give concerning one count and strong need to refrain from testifying on the other.”

United States v. Alosa, 14 F.3d 693, 695 (1st Cir. 1994) (citations and quotations omitted). The

defendant “must timely offer enough information to the court to allow it to weigh the needs of

judicial economy versus the defendant's freedom to choose whether to testify as to a particular




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charge.” United States v. Jordan, 112 F.3d 14, 17 (1st Cir. 1997) (quoting Scivola, 766 F.2d at

43) (quotation marks omitted).

       “[W]hile the courts zealously guard a defendant’s Fifth Amendment right not to testify at

all, the case law is less protective of a defendant’s right to testify selectively . . . .” Alosa, 14

F.3d at 695. Alosa discussed “just how ‘important’ must be the defendant’s proffered testimony

or what kind of ‘strong’ reasons explain the need not to testify on other counts.” Id. The First

Circuit determined that a defendant, who was charged with both drug and related gun crimes,

could not sever the gun crimes, in part because his desire to present evidence that he was a “gun

enthusiast” did not present a “credible alibi.” Id.

       Here, Mr. Kinsella’s proffered evidence is “important testimony” within Alosa. Mr.

Kinsella has been charged with drug trafficking in Counts One and Two. Mr. Kinsella does not

propose to present evidence of his actual innocence of these crimes or his subjective belief that

he was not breaking the law. See Cheek v. United States, 498 U.S. 192, 203-04 (1991) (holding

that a defendant is entitled to present his subjective belief that he did not violate the law, even if

such belief is objectively unreasonable); Alosa, 14 F.3d at 695 (suggesting that a “credible alibi

that only the defendant can supply showing him to have been elsewhere at the time of the crime”

would be enough). Mr. Kinsella’s proposed testimony does not address any elements of the

offenses; but he does seek to blunt an inference of guilt from his non-appearance while on bail.

       Further, Alosa requires that the evidence be something that “only the defendant can

supply.” Id. Here, if admissible at all, Mr. Kinsella’s evidence of the governmental harassment,

as he has described it, can be substantially presented through other witnesses. He would be free

to argue that a jury may infer that his non-appearance was related to the harassment, not to his

guilty conscience. However, if he were required to rely upon other witnesses, he would not be




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able to present direct evidence of his “subjective belief” that he was going to be harassed if he

returned to the United States.

       This is sufficient. In Jordan, the First Circuit reversed a district court’s refusal to sever,

where the defendant wished to present testimony of his “subjective belief” in defense of one

charge, but wished to remain silent as to other counts. Jordan, 112 F.3d at 17. The First Circuit

concluded that similar evidence from another witness would be an ineffective substitute for the

defendant’s own testimony about his own subjective belief. Id. The circumstances here are a

step removed from Jordan, since in Jordan the defendant’s testimony went directly to an

element of the charge and here, Mr. Kinsella’s testimony would go only to an inference the jury

could draw as a result of his failure to appear. But, the inference is “of guilt of the crime

charged.” Otero-Mendez, 273 F.3d at 53. On balance, the Court concludes that Mr. Kinsella has

met the Alsoa criterion for “important testimony.”

       Mr. Kinsella also meets the second prong of the test – he has a “strong need to refrain

from testifying on the other count.” Id. If all three counts are tried at the same time, Mr.

Kinsella’s proposed testimony in Counts One and Two would constitute an admission that he is

guilty of Count Three, since his proffered explanation would confirm his knowing absence and

would not amount to a legitimate defense to the failure to appear charge. To explain his reasons

for non-appearance, he would not only have to admit the fact that he did not appear, but also the

fact that he knowingly failed to appear, two elements of 18 U.S.C. § 3146. Moreover, as his

reason for not appearing is not a defense, the Court would likely instruct the jury to disregard his

testimony.

       In contrast, if Counts One and Two are tried separately Mr. Kinsella could choose to

testify regarding the inference without that testimony adversely impacting his decision to testify




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regarding Count Three. He could exercise his Fifth Amendment right not to testify as to Count

Three and put the Government to its burden of proving that he is guilty of that Count. U.S.

Const. amend. V. The Court concludes that Mr. Kinsella has met Alosa’s “strong need” prong.

        Scivola instructs that the overriding test is between the defendant’s freedom to choose

whether to testify and considerations of judicial economy. If Counts One and Two were tried

first and if Mr. Kinsella took the stand to rebut the inference of conscious guilt, his testimony

would be admissible in the second trial on his failure to appear. To make severance an effective

remedy, the failure to appear count would have to be tried first. Mr. Kinsella would have the

freedom to choose whether to testify on Count Three. If he is not convicted, a later trial would

proceed on Counts One and Two without reference to the earlier trial.5 If he is convicted, the

conviction would likely be admissible in the trial of Counts One and Two to establish the fact of

his failure to appear, unless the parties agreed to an Old Chief stipulation. See Old Chief v.

United States, 519 U.S. 172 (1997).

        Judicial economy weighs heavily in favor of granting severance. The trial of Count

Three appears unusually straightforward. The Court’s own records reflect the conditions of

release, the scheduling of his arraignment, and his failure to appear and Mr. Kinsella himself

recognizes that the excuse he offers is not a legal defense. Of course, a separate trial on Count

Three would impose additional costs in money and time on the jury, the lawyers, the witnesses,

law enforcement, the Bureau of Prisons, and the Court generally. But, given the straightforward

nature of the charge, to the extent judicial economy is a factor, it is less an issue here than in

most cases.




5
 This presumes, as Mr. Kinsella’s entire argument assumes, that he would not testify at the trial of Count Three. If
he did testify, his testimony would likely be admissible in the trial of Counts One and Two.


                                                        16
           Severance is not appropriate merely because Mr. Kinsella wishes to rebut the

Government’s argument regarding the inference that can be drawn from his failure to appear.

See, e.g., United States v. Greo, No. 85 Cr. 961, 1994 U.S. Dist. LEXIS 13876, *4-5 (S.D.N.Y.

Sept. 30, 1994) (“The fact that [the defendant] has to make a choice whether to testify does not

result in undue prejudice.”). But, Mr. Kinsella has presented a convincing argument that the

joint trial of the drug and failure to appear charges would prejudice his Fifth Amendment right

not to testify and would force him to choose between incriminating himself as to Count Three

and testifying as to Counts One and Two. Striking a balance in favor of the Defendant’s right to

avoid self-incrimination, as there are no compelling reasons to deny a severance, the Court will

grant it.

III.       CONCLUSION

           The Court GRANTS the Defendant’s Motion for Severance of Counts One and Two from

Count Three (Docket # 84).6

           SO ORDERED.



                                                                 /s/ John A. Woodcock, Jr.
                                                                 JOHN A. WOODCOCK, JR.
                                                                 UNITED STATES DISTRICT JUDGE


Dated this 11th day of January, 2008




6
    The Court will hold a conference with counsel to discuss scheduling issues.


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